      Case 2:21-cv-01712-KJM-JDP Document 6 Filed 10/19/21 Page 1 of 2


 1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
 6

 7
                         IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
      ROTHSCHILD BROADCAST
      DISTRIBUTION SYSTEMS, LLC,                  CASE NO.: 2:21-cv-01712-KJM-JDP
11
                          Plaintiff,
12                                                 NOTICE OF VOLUNTARY
      v.                                           DISMISSAL WITHOUT
13
                                                   PREJUDICE
14    RHOMBUS SYSTEMS, INC.,

15                        Defendant.
16

17         Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or
18   “RBDS”) files this Notice of Voluntary Dismissal Without Prejudice pursuant to
19   Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an
20   action may be dismissed by the plaintiff without order of court by filing a notice of
21   dismissal at any time before service by the adverse party of an answer. Accordingly,
22   Plaintiff hereby voluntarily dismisses this action against Defendant Rhombus Systems,
23   Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own
24   fees and costs.
25

26

27

28

                                                1
                         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
      Case 2:21-cv-01712-KJM-JDP Document 6 Filed 10/19/21 Page 2 of 2


 1   Dated: October 19, 2021              Respectfully submitted,
 2
                                          /s/ Stephen M. Lobbin
 3                                        Stephen M. Lobbin
 4
                                          sml@smlavvocati.com
                                          SML AVVOCATI P.C.
 5                                        888 Prospect Street, Suite 200
 6                                        San Diego, California 92037
                                          (949) 636-1391 (Phone)
 7

 8                                        Attorney(s) for Plaintiff Rothschild
                                          Broadcast Distribution Systems, LLC
 9

10                             CERTIFICATE OF SERVICE

11          I hereby certify that on October 19, 2021, I electronically transmitted the
12   foregoing document using the CM/ECF system for filing, which will transmit the
     document electronically to all registered participants as identified on the Notice of
13   Electronic Filing, and paper copies have been served on those indicated as non-
14   registered participants.
                                           /s/ Stephen M. Lobbin
15                                         Stephen M. Lobbin
16

17

18

19

20

21

22

23

24

25

26

27

28

                                              2
                       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
